                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

CONCENTRIC, LLC                               )
                                              )
               Plaintiff,                     )
                                              )      Case No.
       v.                                     )
                                              )
JACQUELYN A. MAGES and                        )
AMERICAN POWER SYSTEMS, LLC,                  )
                                              )
               Defendants.                    )

                             CONCENTRIC, LLC’S COMPLAINT

       NOW COMES Plaintiff, CONCENTRIC, LLC (“Concentric”), by and through its

attorneys, Masuda, Funai, Eifert & Mitchell, Ltd., and states as follows for its Complaint against

Defendants JACQUELYN A. MAGES (“Mages”) and AMERICAN POWER SYSTEMS, LLC

(“APS”):

                                            PARTIES
       1.      Plaintiff Concentric, f/k/a/ ABT Power Management, LLC, is a limited lability

company organized under the laws of the state of Texas with its principal place of business located

at 3235 Levis Commons Boulevard, Perrysburg, Ohio 43551. Concentric has three (3) members:

(a) Tom Cox, an individual and a citizen of the state of Ohio, (b) Chris Davanzo, an individual and

a citizen of the State of Ohio, and (c) Kirk Yosik an individual and a citizen of the state of Ohio.

Concentric maintains an office at 6522 North 40th Street, Milwaukee, Wisconsin 53209 (the

“Milwaukee Office”).

       2.      Defendant Mages is an individual and citizen of Wisconsin, who resides at W203

N17225 Francis Drive, Jackson, Wisconsin 53037.




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       3.      Defendant APS is a limited liability company organized under the laws of the state

of Pennsylvania with its principal place of business located at 1851 Central Place S., Suite 206,

Kent, Washington 98030. APS has two (2) members: (a) Ben Gillihan, an individual and a citizen

of the state of Pennsylvania, and (b) East Penn Manufacturing Co., a company organized under

the laws of the state of Pennsylvania.

                                JURISDICTION AND VENUE

       4.      This Court has original jurisdiction over this cause pursuant to 28 U.S.C. §

1332(a)(1) because the amount of controversy exceeds $75,000, exclusive of interest and costs,

and complete diversity exists among the Parties where Concentric is a citizen of the state of Ohio,

Mages is a citizen of Wisconsin, and APS is a citizen of the state of Pennsylvania.

       5.      Venue is proper in the U.S. District Court for Eastern District of Wisconsin

pursuant to 28 U.S.C. §§ 1391(b)-(c) because a substantial part of the events or omissions giving

rise to the claim occurred in Milwaukee County, Wisconsin, which is within the territorial

jurisdiction of this Court, and where Defendants are subject to personal jurisdiction in this Court.

                                 FACTUTAL ALLEGATIONS
A.     Mages’ Employment at Concentric.
       6.      Concentric is engaged in the business of selling industrial power systems, such as

batteries and other power-supply equipment, for use in electric forklifts, electric vehicles, and

automated-guided vehicles.

       7.      On or around January 1, 2019, Concentric offered Mages employment as a Reserve

Power Sales employee in Concentric’s Milwaukee Office and submitted an offer of employment

letter (the “Offer Letter”) to Mages with the Employee Agreement on Non-Competition, Non-

Solicitation, and Confidentiality (collectively with the Offer Letter, the “Employment


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Agreement”) attached. (See Employment Agreement, a true and correct copy of which is attached

hereto as Exhibit 1.)

       8.      The Offer Letter to Mages expressly states that entering into the Employment

Agreement is a condition to beginning employment with Concentric. (See id.)

       9.      In consideration and as a condition of starting her employment with Concentric and

the compensation provided thereto, including, but not limited to, Mages’ salary and benefits,

Mages executed the Employment Agreement on or around March 26, 2019. (See id.)

       10.     The Employment Agreement was entered into by Mages and ABT Power

Management, LLC, as well as its successors and assigns. (See id.) ABT Power Management, LLC

is now known as Concentric, LLC.

       11.     By executing the Employment Agreement, under Section 1 (the “Confidentiality

Provision”), Mages “acknowledge[d] that [she] would not have access to Protected Information

but for [her] employment with [Concentric,]” and accordingly, made the following promises:

               (i)     Promise to Protect. Employee promises to protect and
               maintain the confidentiality of Protected Information while
               employed by Company. Employee will follow all Company policies
               and procedures for the protection and security of information.
               Employee also will immediately report to management any potential
               or actual security breach of loss.
               (ii)    Promise to Return. Employee agrees to return any and all
               materials reflecting Protected Information that he or she may
               possess (as well as all Company-owned equipment and materials)
               immediately upon termination of employment or upon demand by
               Company.
               (iii)   Promise Not To Use Or Disclose. Employee agrees not to
               use or disclose, except as required by law, any Protected Information
               for two years after the end of Employee’s employment but only for
               so long as such Protected Information remains confidential and not
               generally known to, and not readily ascertainable through proper
               and lawful means.



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(Id. at ¶ 1.b.) (emphasis added.)

          12.     The Employment Agreement defines “Protected Information” as:
                  [Concentric] information not generally known to, and which is not
                  readily ascertainable through proper means by, third parties
                  including, without limitation, all of the following; customer lists,
                  client lists, prospect lists, financial statements and reports, code and
                  software and the methods and techniques to develop code and
                  software, business processes, future market and product plans,
                  product and service pricing, information about the performance,
                  personal circumstances and/or compensation of other employees of
                  [Concentric] or its affiliates, and other [Concentric] know-how and
                  trade secrets. Protected Information includes negative know-how,
                  which is information about what [Concentric] tried that did not
                  work, if that information is not generally known or easily
                  ascertainable by third parties.

(Id. at ¶ 1.a.(i).)

          13.     Furthermore, Section 1.e. of the Employment Agreement states that “ the terms and

conditions of this Section 1 are reasonable and necessary for the protection of [Concentric’s]

business and to prevent damages or loss to [Concentric] as the result of action taken by [Mages].”

(Id. at ¶ 1.e.) Mages “acknowledge[d] that [she] could continue to actively pursue [her] career and

earn sufficient compensation without breaching any of the restrictions contained in this Section

1.” (Id.)

          14.     Next, Section 4 of the Employment Agreement (the “Non-Solicitation Provision”)
states:

                  Non-Interference with Certain Customers. [Mages] agrees that
                  during his or her employment with [Concentric], and for a period of
                  two years after the voluntary or involuntary termination of
                  employment with [Concentric] for any reason whatsoever, [Mages]
                  shall not, either personally or in conjunction with others either (a)
                  solicit, interfere with, or endeavor to cause any Protected Customer
                  (as defined in the next sentence) to terminate its business with
                  company, or (b) solicit, otherwise induce or attempt to induce any
                  Protected Customer to obtain goods or services from another
                  (including Employee) or sell or provide goods or services to a
                  Protected Customer if, in either case, those goods or services are

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                competitive with goods or services the Protected Customer obtained
                from [Concentric] in the 12 months preceding the termination of
                [Mages’] employment with [Concentric].

(Id. at ¶ 4) (emphasis added.)

          15.   A “Protected Customer” is defined in the Employment Agreement as “any customer

of [Concentric] for which [Mages] or someone acting under [Mages’] direct supervision provided

services or about which [Mages] received any Protected Information, in either case within the last

12 months preceding the termination of [Mages’] employment with [Concentric].” (Id.)

          16.   Finally, Section 5 of the Employment Agreement (the “Non-Compete Provision”)

states:

                Non-Competition. [Mages] agrees that he or she shall not render
                services or assistance to any competitor (as defined below) of the
                [Concentric] or of any present or future parent, subsidiary or other
                affiliate of the [Concentric] (collectively, “Affiliate”) (a) during the
                term of Employee’s employment with the [Concentric] or with any
                Affiliate, and (b) for a period of one (1) year after the termination
                of such employment if such post-employment services or assistance
                to a Competitor involve any of the following:

                (i) for an Employee whose principal business function for the
                Company or any Affiliate during the one year prior to the
                termination of Employee’s employment with the [Concentric] or
                such Affiliate (“the Relevant Period”) is sales or marketing directly
                to customers of the [Concentric] or such Affiliate, selling, marketing
                products or services competitive with those Employee sold or
                marketed on behalf of the [Concentric] or Affiliate for whom
                Employee worked, to any of the [Concentric’s] or such Affiliate’s
                customers for which Employee had responsibility or with which
                Employee had regular contact, whether in person or through any
                communications technology, at any time during the Relevant Period
                . . . [or]

                for an Employee who during the Relevant Period serves the
                [Concentric] or any Affiliate in a capacity not described in
                subsections (i) or (ii), providing services to a Competitor of the
                [Concentric] or such Affiliate in any capacity in which confidential

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                  information of the [Concentric] or such Affiliate that Employee
                  learned during the Relevant Period, would reasonably be considered
                  useful to the Competitor.

(Id. at ¶ 5) (emphasis added.)

        17.       “Competitor” is defined in the Employment Agreement as any company that is:

                  (a) engaged in or preparing to engage in either of the following
                  businesses in the states of North Dakota, South Dakota, Minnesota,
                  Wisconsin, Illinois, or Iowa:

                  (i) reserve power battery systems utilized in the industries of
                  telecommunications, petro chemical, healthcare, and data centers, or

                  (ii) industrial motive power business, including batteries and
                  charging systems utilized in the industries of material handling,
                  sweepers/scrubbers, personnel carriers, automated guided vehicles,
                  and laser guided vehicles; or

                  (b) engaged in or preparing to engage in competition with any other
                  business in which the Company or any Affiliate is engaged, in any
                  state or territory of the United States in which the Company or any
                  Affiliate is so engaged, but only if such business accounted for at
                  least 10% of the revenues of the Company and its subsidiaries, on a
                  consolidated basis, during the Relevant Period.

(Id.)

        18.       During Mages’ employment at Concentric as a Reserve Power Sales employee,

Mages received a substantial annual salary of $90,000, in addition to other employment benefits

and incentives.

        19.       In addition to Mages’ annual salary at Concentric, starting on or around January 9,

2020, Mages also received commissions on certain sales pursuant to a Quarterly Reserve Power

Commission Plan. (See “Quarterly Reserve Power Commission Plan,” a true and accurate copy of

which is attached hereto as Exhibit 2.)



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       20.     As a Reserve Power Sales employee at Concentric, Mages had unique access to and

acquired Concentric’s confidential information regarding the identities, contact information,

purchase histories and preferences for Concentric’s customers, as well as pricing information for

Concentric’s power-system products.

       21.     Mages unexpectedly resigned from Concentric on or around January 26, 2021,

stating that her “personality does not fit within the Concentric culture[.]” (See “Mages’

Resignation Letter,” a true and correct copy of which is attached hereto as Exhibit 3.)

       22.     Shortly after her resignation, on or around February 1, 2021, Concentric sent Mages

a letter asking her to return any and all Concentric property, including, but not limited to paper

files and documents containing Concentric’s customer information, and confidential matters still

in her possession, reminding Mages of her obligations to maintain such information as

confidential, and reminding Mages of her non-solicitation and non-compete obligations under the

Employment Agreement. (See “Reminder of Obligations Letter,” a true and correct copy of which

is attached hereto as Exhibit 4.)

       23.     Mages did not respond to the Reminder of Obligations Letter in any manner, neither

denying she had any such materials in her possession nor returning any such materials.

       24.     Upon information and belief, despite Concentric’s demands to do so, Mages has

failed to and refused to return Concentric’s confidential information, including, but not limited to,

paper files containing Concentric’s confidential customer lists and customer contacts, after her

resignation.

B.     Mages Solicited and Serviced Concentric’s Customer.

       25.     After Mages resigned from Concentric, Concentric discovered that Mages was

contacting and servicing at least one of Concentric’s customers.



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       26.       On or around June 24, 2021, Concentric’s customer, TDS Telecom, located in

Madison, Wisconsin, sent an e-mail to Concentric inquiring whether Concentric had received a

certain purchase order. (See “June 24, 2021 E-mail to Concentric,” a true and correct copy of which

is attached hereto as Exhibit 5.)

       27.       TDS Telecom is a “Protected Customer” because Mages provided services to TDS

Telecom for Concentric “within the last 12 months preceding” her resignation. (See Employment

Agreement, at ¶ 4.)

       28.       In the June 24, 2021 E-mail to Concentric, TDS Telecom revealed that it had

accidentally sent it two purchase orders for Enersys SBSB14F 62AH12V FR Term Batteries (the

“Batteries”), which it actually intended to submit to APS. (See id.)

       29.       APS is engaged in the business of selling power systems, such as batteries and other

power supply equipment, and thus, is a direct competitor of Concentric.

       30.       The two orders TDS Telecom sent to APS totaled $1,728. (See id.)

       31.       Attached to the June 24, 2021 E-mail to Concentric is an e-mail chain between TDS

Telecom and Mages from May 18–24, 2021 with Mages communicating on behalf of APS

concerning APS fulfilling TDS Telecom’s purchase orders for the Batteries. (See “May 2021

Emails from Mages,” true and correct copies of which is attached hereto as Exhibit 6.)

       32.       In the May 2021 Emails from Mages, Mages is listed as the “Project Manager” for

APS. (See id.)

       33.       Mages has been improperly soliciting and servicing Concentric’s customer for

APS’s benefit and at Concentric’s detriment after her resignation from Concentric in violation of

Sections 4 and 5 of the Employment Agreement.




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        34.     Based on this contact with Concentric’s customer, Mages may be contacting other

Concentric customers on APS’s behalf.

        35.     As a result of Mages’ improper solicitation and servicing of Concentric’s customer,

Concentric’s ability to provide products and services to and collect revenue from its customer has

been and will continue to be damaged.

                              COUNT I – BREACH OF CONTRACT
                                      (Defendant Mages)
        36.     Concentric repeats and re-alleges the allegations set forth in Paragraphs 1–35 as if

fully set forth herein.

        37.     The Employment Agreement between Concentric and Mages constitute a valid and

enforceable contract, which Mages entered into voluntarily and in consideration for her

employment at Concentric and compensation, in excess of $90,000, for the same.

        38.     Concentric has performed all conditions, covenants, and promises required on its

part.

        39.     The restrictive covenants within the Employment Agreement are reasonable as to

Concentric’s employees and the general public, and necessary for Concentric to protect its

legitimate business interest in protecting and safeguarding its confidential information from

improper use for Mages’ and/or a competitor’s gain, and protecting and safeguarding its

relationships with its customers.

        40.     The Employment Agreement provides a reasonable time period for its restrictive

covenants as the Employment Agreement prohibits Mages from:

                (a)       improperly using or disclosing Concentric’s confidential information for a

                          period of two (2) years after Mages’ termination (the “Confidentiality

                          Period”);

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               (b)     soliciting or interfering with a “Protected Customer” for a period of two (2)

                       years after Mages’ termination (the “Non-Solicitation Period”); and

               (c)     competing with Concentric in the defined territory as defined in the

                       Employment Agreement for a period of one (1) year after Mages’

                       termination (the “Non-Compete Period”).

       41.     The Non-Solicitation Provision within the Employment Agreement covers a

reasonable and specified territory as it prohibits Mages from soliciting, or otherwise inducing or

attempting to inducing Concentric customer that Mages provided services to “within the last 12

months preceding” Mages’ termination to do business with Mages or another entity.

       42.     The Non-Compete Provision within the Employment Agreement covers a

reasonable and specified territory as it prohibits Mages from competition with Concentric with a

competitor in “North Dakota, South Dakota, Minnesota, Wisconsin, Illinois, or Iowa” that is in

involved in “reserve power battery systems utilized in the industries of telecommunications, petro

chemical, healthcare, and data centers, or industrial motive power business, including batteries and

charging systems utilized in the industries of material handling, sweepers/scrubbers, personnel

carriers, automated guided vehicles, and laser guided vehicles” industries, or “in any state or

territory of the United States . . . but only if [Concentric’s] business accounted for at least 10% of

the revenues of [Concentric] and its subsidiaries, on a consolidated basis, during the Relevant

Period.”

       43.     Mages breached the restrictive covenants contained in Employee Agreement by:

               (a)     failing to and refusing to return Concentric’s confidential information

                       immediately upon her resignation and upon demand by Concentric;




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               (b)       soliciting Concentric’s customer, who Mages serviced at Concentric within

                         the last twelve months preceding her resignation, to do business with APS;

                         and

               (c)       servicing such customer in competition with Concentric.

       44.     As a direct and proximate result of Mages’ breaches of the Employment

Agreement, Concentric has suffered damages relating to its ability to provide products and services

to and collect revenue from its customer.

       45.     Moreover, Concentric will suffer irreparable and substantial harm that cannot be

fully redressed through damages alone. Accordingly, temporary injunctive relief prohibiting

Mages from competing with Concentric and further soliciting Concentric’s Protected Customers,

as defined in the Employment Agreement, is necessary to provide Concentric with complete relief.

       WHEREFORE, Plaintiff Concentric respectfully requests that this Court enter judgment in

its favor and against Defendant Mages and grant the following relief:

       (i)     Compensatory damages for the actual losses incurred due to Defendant’s breaches

               of her Employment Agreement, in excess of $75,000;

       (ii)    Preliminary injunctive relief tolling the running or expiration of the Confidentiality,

               Non-Solicitation, and Non-Compete Periods in the Employment Agreement during

               the pendency of this litigation, and enjoining Mages from using or disclosing

               Concentric’s confidential information during the Confidentiality Period, soliciting

               Concentric’s Protected Customers, as defined in the Employment Agreement,

               during the Non-Solicitation period, and directly competing with Concentric for a

               Competitor, as defined in the Employment Agreement, during the Non-Compete

               Period;



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        (iii)   Applicable interest and costs; and

        (iv)    Any other and further relief that the Court deems equitable and just.

 COUNT II – TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSHIP
                            (Defendant APS)
        46.     Concentric repeats and re-alleges the allegations set forth in Paragraphs 1-45 as if

fully set forth herein.

        47.     Concentric had an existing contractual relationship with Mages, evidenced by the

Employment Agreement entered into by both Concentric and Mages.

        48.     Defendant APS interfered with Concentric’s existing contractual relationship with

Mages by employing Mages in a capacity that violates her contractual obligations to Concentric

within the Employment Agreement.

        49.     Upon information and belief, APS’ interference with Concentric’s contractual

relationships with Mages was intentional because APS knew about the existences of the valid and

enforceable contract between Concentric and Mages, including the restrictive covenants contained

therein, and nevertheless interfered with Concentric and Mages’ contractual relationship.

        50.     Accordingly, upon information and belief, APS was not justified or privileged to

interfere with the existing contractual relationship between Concentric and Mages.

        51.     As a direct and proximate result of APS’s tortious interference with Concentric’s

contractual relationship, Concentric has suffered damages relating to its ability to provide products

and services to and collect revenue from its customer.

        52.     Moreover, Concentric will suffer irreparable and substantial harm that cannot be

fully redressed through damages alone. Accordingly, temporary injunctive relief prohibiting APS

from employing Mages in a capacity that competes with Concentric, as defined in the Employment

Agreement, is necessary to provide Concentric with complete relief.

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        WHEREFORE, Plaintiff Concentric respectfully requests that this Court enter judgment in

its favor and against Defendant APS and grant the following relief:

        (i)     Compensatory damages for the actual losses incurred due to Defendant APS’s

                tortious interference with Concentric’s contractual relationship with its former

                employee, Mages;

        (ii)    Requiring Defendant APS to provide Concentric with an account of profits received

                by APS arising from its tortious interference with Concentric’s contractual

                relationship;

        (iii)   Preliminary injunctive relief tolling the running or expiration of the Non-

                Solicitation and Non-Compete Periods in the Employment Agreement during the

                pendency of this litigation, and enjoining Defendant APS from employing Mages

                in a capacity that directly competes with Concentric, as defined in the Employment

                Agreement, during the Non-Compete Period;

        (iv)    Applicable interest and costs; and

        (v)     Any other and further relief that the Court deems equitable and just.

COUNT III – TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSHIP
                        (Defendants Mages and APS)
        53.     Concentric repeats and re-alleges the allegations set forth in Paragraphs 1-52 as if

fully set forth herein.

        54.     Concentric had an existing contractual relationship with its customer, TDS

Telecom.

        55.     Defendants interfered with Concentric’s existing contractual relationship with TDS

Telecom by soliciting and fulfilling TDS Telecom’s purchase orders after Mages diverted TDS

Telecom’s business to APS.

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       56.     Defendants’ interference with Concentric’s contractual relationships was

intentional.

       57.     As a direct and proximate result of Defendants’ tortious interference with

Concentric’s contractual relationship, Concentric has suffered damages relating to its ability to

provide products and services to and collect revenue from TDS Telecom.

       58.     Moreover, Concentric will suffer irreparable and substantial harm that cannot be

fully redressed through damages alone. Accordingly, temporary injunctive relief prohibiting

Mages from competing with Concentric and further soliciting Concentric’s Protected Customers,

as defined in the Employment Agreement, is necessary to provide Concentric with complete relief.

       59.     Defendants’ were not justified or privileged to interfere with the existing

contractual relationships between Concentric and its customer.

       WHEREFORE, Plaintiff Concentric respectfully requests that this Court enter judgment in

its favor and against Defendants Mages and APS and grant the following relief:

       (i)     Compensatory damages for the actual losses incurred due to Defendants’ tortious

               interference with Concentric’s contractual relationship with its customer;

       (ii)    Requiring Defendants to provide Concentric with an account of profits received by

               Defendants arising from their tortious interference with Concentric’s contractual

               relationships;

       (iii)   Preliminary injunctive relief tolling the running or expiration of the Non-

               Solicitation and Non-Compete Periods in the Employment Agreement during the

               pendency of this litigation, and enjoining Defendants from soliciting Concentric’s

               Protected Customers, as defined in the Employment Agreement, during the Non-




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               Solicitation period, and directly competing with Concentric for a Competitor, as

               defined in the Employment Agreement, during the Non-Compete Period;

       (iv)    Applicable interest and costs; and

       (v)     Any other and further relief that the Court deems equitable and just.

    COUNT IV – UNJUST ENRICHMENT (IN THE ALTERNATIVE TO COUNT I)
                           (Defendant Mages)
       60.     Concentric repeats and re-alleges the allegations set forth in Paragraphs 1-6, 18, 20-

21, 24-26, 28-32, 34-35 as if fully set forth herein.

       61.     Mages voluntarily received an annual salary of $90,000, as well as other

employment benefits and incentives, from March 2019 to January 2021, when she resigned from

Concentric.

       62.     Mages received her salary and other benefits from Concentric in exchange for her

promises:

               (a)     to be an employee of Concentric;

               (b)     to not improperly use or disclose Concentric’s confidential information for

                       a period of two (2) years after Mages’ termination;

               (c)     to not solicit or interfere with Concentric’s customers for a period of two

                       (2) years after Mage’s termination; and

               (d)     compete with Concentric for a period of one (1) year after Mages’

                       termination.

       63.     Mages has been unjustly enriched at the expense and at the detriment of Concentric

because she received the compensation referenced herein without keeping the aforementioned

promises to Concentric.



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       64.     The unjust, willful, and malicious actions taken by Mages in violation of her

promise to Concentric include, but are not limited to:

               (a)    failing to and refusing to return Concentric’s confidential information

                      immediately upon her resignation and/or upon demand by Concentric;

               (b)    soliciting Concentric’s customer to do business with APS; and

               (c)    servicing Concentric’s customer in competition with Concentric.

       65.     Mages is thus required to compensate Concentric for the value of her unlawful gains

in connection with her actions, concluding, but not limited to, any salary and other compensation

received from Concentric and any profits that Mages received from Concentric, as it would

otherwise be inequitable for Mages to retain them.

       WHEREFORE, Plaintiff Concentric respectfully requests that this Court enter judgment

in its favor and against Defendant Mages and grant the following relief:

       (i)     Requiring Defendant to provide an account of her profits received by Defendant

               arising from her violation of her promises to Concentric;

       (ii)    Compensatory damages for the actual losses incurred due to Defendant’s violation

               of her promises to Plaintiff;

       (iii)   Applicable interest and costs; and

       (iv)    Any other and further relief that the Court deems equitable and just.

                                        JURY DEMAND
       Plaintiff Concentric hereby demands trial by jury on all issues so triable pursuant to Federal

Rule of Civil Procedure 38.




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Dated: August 10, 2021

                                          Respectfully submitted,

                                          CONCENTRIC, LLC

                                   By:           /s/ Edward J. Underhill

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